 Fill in this information to identify the case:

 Debtor name            Gates Community Chapel of Rochester, Inc.

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF NEW YORK

 Case number (if known)               2-18-20169
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $         8,996,900.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           817,496.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $         9,814,396.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $         1,184,403.49


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                     2.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$         1,756,408.83


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           2,940,814.32




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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        Case 2-18-20169-PRW                                         Doc 54 Filed 04/11/18 Entered 04/11/18 16:56:02                                                                         Desc Main
                                                                          Document    Page 1 of 26
 Fill in this information to identify the case:

 Debtor name          Gates Community Chapel of Rochester, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NEW YORK

 Case number (if known)         2-18-20169
                                                                                                                                        Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     Elmira Savings Bank                                    Checking                         0346                                    $25,619.00




            3.2.     Elmira Savings Bank                                    Checking                         0437                                     $1,074.00




            3.3.     Community Bank                                         Checking                         9693                                       $111.00




            3.4.     PayPal                                                 Online                                                                    $1,551.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                     $28,355.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

         No. Go to Part 3.
         Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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 Debtor         Gates Community Chapel of Rochester, Inc.                                     Case number (If known) 2-18-20169
                Name

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 28.       Crops-either planted or harvested

 29.       Farm animals Examples: Livestock, poultry, farm-raised fish
           300 Chickens; 32 Horses                                                          $0.00    Debtor Estimate                    $21,250.00



 30.       Farm machinery and equipment (Other than titled motor vehicles)
           Gehl 4635 SX Skid Loader; Massey Ferguson
           180 Tractor; Manure Spreader; Farming Tools
           and Implements                                                                   $0.00    Debtor Estimate                    $24,500.00



 31.       Farm and fishing supplies, chemicals, and feed
           Farm grains & hay                                                                $0.00    Debtor Estimate                      $1,400.00



 32.       Other farming and fishing-related property not already listed in Part 6
           20 Saddles                                                                       $0.00    Debtor Estimate                      $2,000.00



 33.       Total of Part 6.                                                                                                          $49,150.00
           Add lines 28 through 32. Copy the total to line 85.

 34.       Is the debtor a member of an agricultural cooperative?
               No
               Yes. Is any of the debtor's property stored at the cooperative?
                         No
                         Yes

 35.       Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
             No
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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 Debtor         Gates Community Chapel of Rochester, Inc.                                        Case number (If known) 2-18-20169
                Name


                Yes. Book value                                      Valuation method                       Current Value

 36.       Is a depreciation schedule available for any of the property listed in Part 6?
               No
               Yes

 37.       Has any of the property listed in Part 6 been appraised by a professional within the last year?
             No
             Yes

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used    Current value of
                                                                                 debtor's interest      for current value        debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           See attached list - Exhibit "A"                                                     $0.00    Debtor Estimate                   $497,150.00



 40.       Office fixtures
           See attached list - Exhibit "A"                                                     $0.00    Debtor Estimate                See #39 above



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           See attached list - Exhibit "A"                                                     $0.00    Debtor Estimate                See #39 above



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                              $497,150.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers                 debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                         (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     See attached list - Exhibit "B"                                           $0.00    Debtor Estimate                   $140,839.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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                Name



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

 51.       Total of Part 8.                                                                                                         $140,839.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 127 East Fourth St.,
                     Watkins Glen, NY
                     14891

                     Church Building with
                     Pipe Organ & Stained
                     Glass (organ
                     estimated to be
                     worth $85,000,
                     stained glass is
                     irreplaceable and
                     estimated to be
                     worth over $100,000.)

                     Property Tax ID:
                     65.54-1-29

                     Insured amounts on
                     Exhibit "C"                          Fee simple                        $0.00    Tax records                       $367,100.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 4
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 Debtor         Gates Community Chapel of Rochester, Inc.                                    Case number (If known) 2-18-20169
                Name

           55.2.     5275 NY Route 14,
                     Lakemont, NY 14857

                     Main Campus
                     151.5 Acres with
                     buildings; 1,167'
                     Seneca Lake frontage

                     Property Tax ID:
                     121.02-1-58

                     Insured amounts on
                     Exhibit "C"                          Fee simple                        $0.00    Tax records                    $6,500,000.00


           55.3.     6055 NY Route 14,
                     Rock Stream, NY
                     14878

                     3.70 Acres with
                     warehouse

                     Property Tax ID:
                     131.02-1-27

                     Insured amounts on
                     Exhibit "C"                          Fee simple                        $0.00    Tax records                     $160,000.00


           55.4.     NY Route 14,
                     Lakemont, NY 14857
                     (# 5171, #5181, #5252
                     Lakemont-Himrod
                     Rd.)

                     5 Acres - runs
                     between Rt. 14 &
                     Lakemont-Himrod
                     Rd.

                     House trailers
                     located at 5171, 5181
                     & 5252
                     Lakemont-Himrod
                     Rd.

                     Property Tax ID:
                     121.02-1-44

                     Insured amounts on
                     Exhibit "C"                          Fee simple                        $0.00    Tax records                       $20,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 5
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                Name

           55.5.     6053 NY Route 14,
                     Rock Stream, NY
                     14878

                     1 Acre with single
                     family house

                     Property Tax ID:
                     131.02-1-28

                     Insured amounts on
                     Exhibit "C"                          Fee simple                        $0.00    Tax records                       $95,000.00


           55.6.     4999
                     Lakemont-Himrod
                     Rd., Lakemont, NY
                     14857

                     33.30 Acres with
                     single family house

                     Property Tax ID:
                     121.02-1-24

                     Insured amounts on
                     Exhibit "C"                          Fee simple                        $0.00    Tax records                     $200,000.00


           55.7.     5065
                     Lakemont-Himrod
                     Rd., Lakemont, NY
                     14857

                     > 1 Acre with single
                     family house

                     Property Tax ID:
                     121.02-1-29

                     Insured amounts on
                     Exhibit "C"                          Fee simple                        $0.00    Tax records                       $38,500.00


           55.8.     6189 Old Lake Rd.,
                     Rock Stream, NY
                     14857

                     1 Acre with single
                     family house

                     Property Tax ID:
                     131.04-1-12

                     Insured amounts on
                     Exhibit "C"                          Fee simple                        $0.00    Tax records                       $60,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 6
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 Debtor         Gates Community Chapel of Rochester, Inc.                                    Case number (If known) 2-18-20169
                Name

           55.9.     5612 NY Route 14,
                     Lakemont, NY 14857

                     1.40 Acres with
                     single family house

                     Property Tax ID:
                     128.04-1-2

                     Insured amounts on
                     Exhibit "C"                          Fee simple                        $0.00    Tax records                     $130,000.00


           55.10 586 Rock Stream Rd.,
           .     Rock Stream, NY
                     14878

                     75.00 Acres with
                     single family house

                     Property Tax ID:
                     131.01-1-16

                     Insured amounts on
                     Exhibit "C"                          Fee simple                        $0.00    Tax records                     $366,300.00


           55.11 625 & 638 Rock
           .     Stream Rd., Rock
                     Stream, NY 14878

                     285.56 Acres Farm
                     property with single
                     family house

                     Property Tax ID:
                     130.04-1-9

                     Insured amounts on
                     Exhibit "C"                          Fee simple                        $0.00    Tax records                     $925,000.00


           55.12 4 Elizabeth St.,
           .     Dundee, NY 14837

                     Single Family Home
                     (Ownership status to
                     be determined)

                     Property Tax ID:
                     120.02-1-9

                     Insured amounts on
                     Exhibit "C"                          TBD                               $0.00    Tax records                       $85,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 7
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                Name

            55.13 711 South St.,
            .     Himrod, NY 14842

                     Single Family Home
                     (Ownership status to
                     be determined)

                     Property Tax ID:
                     99.28-1-14

                     Insured amounts on
                     Exhibit "C"                          TBD                               $0.00      Tax records                       $50,000.00




 56.        Total of Part 9.                                                                                                       $8,996,900.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
                No
                Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used   Current value of
                                                                              debtor's interest        for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            https://www.freedomvillageusa.com                                               $0.00      Debtor Estimate                     $1,000.00



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Mailing list, including names and addresses                                     $0.00      Debtor Estimate                     $1,000.00



 64.        Other intangibles, or intellectual property

 65.        Goodwill
            Goodwill                                                                        $0.00      Debtor Estimate                  $100,000.00



 66.        Total of Part 10.                                                                                                        $102,000.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 8
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 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
                No
                Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                             Current value of
                                                                                                                             debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities
            Hazard, liability, automobile, worker compensation,
            unemployment                                                                                                                       $1.00



 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

            Possible claims to be investigated                                                                                                 $1.00
            Nature of claim
            Amount requested                                             $0.00



 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                               $2.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
              No
              Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 9
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                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $28,355.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                      $49,150.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $497,150.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $140,839.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $8,996,900.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                $102,000.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $2.00

 91. Total. Add lines 80 through 90 for each column                                                            $817,496.00           + 91b.            $8,996,900.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $9,814,396.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 10
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